       3:18-cv-02015-JFA        Date Filed 03/19/19     Entry Number 17       Page 1 of 1


                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF SOUTH CAROLINA
                                   COLUMBIA DIVISION

 Earline Johnson,                                       C/A No.: 3:18-cv-02015-JFA

                  Plaintiff,

 vs.                                                  STIPULATION OF DISMISSAL
                                                         WITHOUT PREJUDICE
 Kimsrun Deth and Kim Transport, Inc.,

                  Defendants.


        Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), the parties hereby agree that

this matter is dismissed without prejudice. The parties further agree to bear their own costs and

fees in this matter.



LAW OFFICE OF KENNETH E. BERGER, LLC                        MURPHY AND GRANTLAND, PA

s/ Bradley L. Lanford                                       s/ Ronald B. Diegel
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